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                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


 UNITED STATES OF AMERICA,

                          Plaintiff,

         v.                                         CRIMINAL NO. 1:17CR63-01
                                                         (Judge Keeley)

 STEPHEN COTTERRELL,

                          Defendant.

       ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
         CONCERNING PLEA OF GUILTY IN FELONY CASE (DKT. NO. 49),
        ACCEPTING GUILTY PLEA, AND SCHEDULING SENTENCING HEARING

         On       April    9,    2018,     the   defendant,      Stephen    Cotterrell

 (“Cotterrell”), appeared before United States Magistrate Judge

 Michael J. Aloi and moved for permission to enter a plea of GUILTY

 to Count Two of the Indictment. After Cotterrell stated that he

 understood that the magistrate judge is not a United States

 district judge, he consented to tendering his plea before the

 magistrate judge. Previously, this Court had referred the guilty

 plea to the magistrate judge for the purposes of administering the

 allocution pursuant to Federal Rule of Criminal Procedure 11,

 making       a    finding      as   to   whether   the   plea   was   knowingly     and

 voluntarily entered, and recommending to this Court whether the

 plea should be accepted.

         Based upon Cotterrell’s statements during the plea hearing and

 the    testimony         of    Matthew   Bassett,    Agent,     Bureau    of   Alcohol,

 Tobacco, Firearms, and Explosives, the magistrate judge found that
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 Cotterrell was competent to enter a plea, that the plea was freely

 and voluntarily given, that he was aware of the nature of the

 charges against him and the consequences of his plea, and that a

 factual basis existed for the tendered plea. The magistrate judge

 entered a Report and Recommendation Concerning Plea of Guilty in

 Felony Case (“R&R”) (dkt. no. 49) finding a factual basis for the

 plea and recommending that this Court accept Cotterrell’s plea of

 guilty to Count Two of the Indictment.

       The magistrate judge also directed the parties to file any

 written objections to the R&R within fourteen (14) days after

 service of the R&R. He further advised that failure to file

 objections would result in a waiver of the right to appeal from a

 judgment of this Court based on the R&R. The parties did not file

 any objections to the R&R.

       Accordingly, this Court ADOPTS the magistrate judge’s R&R,

 ACCEPTS Cotterrell’s guilty plea, and ADJUGES him GUILTY of the

 crime charged in Count Two of the Indictment.

       Pursuant to Fed. R. Crim. P. 11(c)(3) and U.S.S.G. § 6B1.1(c),

 the Court DEFERS acceptance of the proposed plea agreement until it




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 has received and reviewed the presentence report prepared in this

 matter.

       Pursuant to U.S.S.G. § 6A1 et seq., the Court ORDERS as

 follows:

       1.     The Probation Officer shall undertake a presentence

 investigation of Cotterrell, and prepare a presentence report for

 the Court;

       2.     The   Government   and   Cotterrell    shall   provide   their

 versions of the offense to the probation officer by May 3, 2018;

       3.     The presentence report shall be disclosed to Cotterrell,

 defense counsel, and the United States on or before July 3, 2018;

 however, the Probation Officer shall not disclose any sentencing

 recommendations made pursuant to Fed. R. Crim. P. 32(e)(3);

       4.     Counsel may file written objections to the presentence

 report on or before July 18, 2018;

       5.     The Office of Probation shall submit the presentence

 report with addendum to the Court on or before August 1, 2018; and

       6.     Counsel may file any written sentencing statements and

 motions for departure from the Sentencing Guidelines, including the




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 factual basis from the statements or motions, on or before August

 1, 2018.

       The magistrate judge continued Cotterrell on bond pursuant to

 the Order Setting Conditions of Release (dkt. no. 27).

       The   Court   will    conduct    the   sentencing    hearing      for   the

 defendant   on   Tuesday,    August    14,   2018   at   10:30   A.M.    at   the

 Clarksburg, West Virginia point of holding court.

       It is so ORDERED.

       The Clerk is directed to transmit copies of this Order to

 counsel of record and all appropriate agencies.

 DATED: April 25, 2018


                                       /s/ Irene M. Keeley
                                       IRENE M. KEELEY
                                       UNITED STATES DISTRICT JUDGE




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